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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X
                                                                       :
NEW YORK WHEEL OWNER LLC, et al.,                                      :
                                                                       :
                                    Plaintiffs,                        :
                                                                       :     17-CV-4026 (JMF)
                  -v-                                                  :
                                                                       :          ORDER
MAMMOET HOLDING B.V., et al.,                                          :
                                                                       :
                                    Defendants.                        :
                                                                       :
---------------------------------------------------------------------- X

JESSE M. FURMAN, United States District Judge:

        If the Court lacks subject-matter jurisdiction, it sees no need to make matters worse by
holding an initial pretrial conference. Accordingly, the initial pretrial conference is
ADJOURNED sine die. No later than October 22, 2020, the parties shall file a joint letter
(1) reporting the status of Plaintiff New York Wheel LLC’s investigation into the matter and
providing “a firm estimate of how much additional time may be needed”; and (2) as appropriate,
proposing next steps with respect to the issue of jurisdiction. In the letter, Plaintiff New York
Wheel LLC shall also explain when it first learned of the potential jurisdictional issue and why it
did not learn of the issue earlier in the litigation. If or when the Court confirms that it has
subject-matter jurisdiction, it will reschedule the initial pretrial conference.

        SO ORDERED.

Dated: October 16, 2020                                    __________________________________
       New York, New York                                           JESSE M. FURMAN
                                                                  United States District Judge
